 

Case: 1:08-cv-06810 Document #: 57 Filed: 12/30/08 Page 1 of 5 PagelD #:459

      

IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF ILLINOIS — F I L E D
EASTERN DIVISION

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Dec 30, LOOP

MICHAEL W. DOB
CLERK, U.S. DISTRICT COURT

Terence Bruce Richards
Plaintiff

Case Number 08 CV 6810
OFev CYI0

District Judge Coar

V5.

United States of America, Department of
Justice, County of Lake, City of Waukegan,
Federal Defender Program, HSBC Technology
& Services (USA} Inc., Manual Barbosa,
James E. Stevens, Daniel Kleinhubert,
Detective Szuchnicki, Paul Flynn, Susan
Hansen, and James Harrington

Defendant(s)

Magistrate Judge
Geraldine Soat Brown

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NOTICE OF FILING

Plaintiff, Terence Bruce Richards, respectively files in the Northern District Court of
illinois — Eastern Division, located at 219 South Dearborn Street, Chicago, Illinois, 60604 the
following Motion for Deferment of Hearing, pursuant to Fed. R. Civ. P. 12(d), with to addressed

by District Judge David Coar.

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IN THE UNITED STATES DISTRICT COURT FILED
FOR THE NORTHERN DISTRICT OF ILLINOIS

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MICHAEL W. DOB

Terence Bruce Richards CLERK, U.S. DISTRICT COURT.

Plaintiff
Vs, Case Number 08 CV 6810
United States of America, Department of
Justice, County of Lake, City of Waukegan,
Federal Defender Program, HSBC Technology
& Services (USA) Inc., Manual Barbosa,
James £. Stevens, Daniel Kleinhubert,
Detective Szuchnicki, Paul Flynn, Susan
Hansen, and James Harrington

Defendant(s)

District Judge Coar

Magistrate Judge
Geraldine Soat Brown

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MOTION FOR DEFERMENT OF HEARING
PURSUANT TO Fed. R. Civ. Proc. 12(d)

Plaintiff, Terence Bruce Richards, respectively moves this Honorable Court for a
deferment of the hearing of the Judgment of the Pleadings, pursuant to Fed. R. Civ. P. 12(d),
until the hearing date under Fed. R. Civ. P. 39(a).

1. Plaintiff, Terence Bruce Richards, asserts the following in support his motion for
deferment of preliminary hearing.

2. The other party has demanded a jury trial in the instant case, as the same as the
plaintiff, Terence Bruce Richards, in support of his request, combining both jury trials

would save on judicial economy, of conducting two jury trials, this would create a

substantial of savings in the cost of litigation.

 
 

 

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3. The other party, City of Waukegan and defendant Detective Szuchnicki, has not
expressed a need for a preliminary hearing, the filed their motion under a NOTICE OF
FILING, and not NOTICE OF HEARING. Providing a contextual basis, that they would
prefer to have their motion for Judgment of the Pleadings, to be conducted at the same
time as the trial.

4. The defendant City of Waukegan and defendant Detective Szuchnicki, have not
expressed any concern about, that this postponement would be prejudicial against
them, if there was a postponement of the preliminary hearing, under Fed. R. Civ. Proc.

12(d).

THEREFORE, Plaintiff, Terence Bruce Richards, respectively request a postponement of the
preliminary hearing, until the trial date, to be heard by a jury trial, pursuant to Fed. R. Civ.

Proc. 38(b).

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